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AO 106 (Rev. 04/10) Application for a Search Warrant (Page ])

 

UNITED STATES DISTRICT COURT
for the
Northern District of New York

  

In the Matter of the Search of

(Briejly describe the property to be searched
or fdent.f/j) Ihe person by name and oddress)

IN 'I`HE MATTER OF THE SEARCH OF
SAMSUNG SM-J336AZ CELL PHONE (S/N:
R28K53A6L4T) CURRENTLY LOCATED AT
US MARSHALS SERVICE OFFICE LOCATED
lN ALBANY NEW YORK

Case NO. I', l Cl'm.j- (Q(QL'\'O:Y§

\-/\_/\./\_/\_/\_/\_/\_r'

APPLICATION FOR A SEARCH WARRAN'I`

l, a federal law enforcement officer or an attorney for the government, request a search warrant and
state under penalty of perjury that l have reason to believe that on the following person or property:
(:'dennjj) the person or describe the properly to be searched and its given locotion)!

Attachrnent A

located in the Northern District of New York , there is now concealed
(identijj) the person or describe the properly to be seized).'

Attachment B

The basis for the search under Fed. R. Crim. P. 41(0) is (check one or mare):

® evidence of a crime;

13 contraband, fruits of crime, or other items illegally possessed;

13 property designed for use, intended for use, or used in committing a crime;
l:l a person to be arrested or a person Who is unlawfully restrained

The search is related to a violation of:

Code Section Offense Description

18 USC 2250 Failure to Register as a sex offender

The application is based on these facts:

See Attached Affidavit

IE[ Continued on the attached sheet.

|:| D€l&y€d notiCC Of ___ days (give exact ending date if more than 30 days):

is requested under 18 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet.

Applicant '.s signature
Robert lmbugio, Deputy US Marshal

Printed name and title

 

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Sworn to before me and signed in my presence Q wl
Dare: from lail 3 019 44
t ila/mpa

City and State: Albany, NY Hon. DaniElJ. Stewart, U. S. Magistrate Judge

 

Pr:'nted name and title

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lN THE UNITED STATES DISTRICT COURT
FOR NORTHERN DISTRICT OF NEW YORK

IN THE MATTER OF THE SEARCH OF

SAMSUNG Sl\/l-.1336AZ CELL PHONE (S/'N:

R28K53A6L4T) CURRENTLY LOCATED Case No. f .' [Q'/”)? 2-' 07¢$ f 12 "/__'j
AT US MARSHALS SERVICE OFFICE

LOCATED IN ALBANY NEW YORK

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION UNDER RULE 41 FOR A
WARRANT TO SEARCH AND SEIZE

l, Robert lmburgio, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. 1 make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search warrant authorizing the examination of property_an
electronic device_which is currently in law enforcement possession, as described in Attachment
A, and the extraction from that property of electronically stored information described in

Attachment B.

2. I am a Criminal lnvestigator/Deputy United States Marshal with the United States
Marshals Service, and l have been so employed for 9 years. I am currently assigned to the
Albany, New Yorl< Division, and I conduct various criminal investigations including violations
Of the Adam Walsh Child Protection Act of 2006. In 2018, l attended Sex Offender
Investigation Coordinator Basic training and am a collateral district Sex Offender lnvestigations
Coordinator. As a Deputy Marshal, I am authorized to seek and execute federal arrest and Search
Warrants for Title 13 criminal offenses, including offenses related to the Sex Offender

Registration and Notiflcation Act (“SORNA"`), and specifically those involving the interstate

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travel of persons required to register under SORNA, in violation of Title 18, United States Code,
Section 2250. I have received training and instruction in conducting online SORNA
investigations

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4. Based on my training and experience and the facts as set forth in this affidavit,
there is probable cause to believe that violations of 18 U.S.C. § 2250(a), Failure to Register as a
Sex Offender, have been committed by Eric TOMPKINS and there is probable cause to search
the device described in Attachment A for evidence of this crime, as described in Attachment B.

IDENTIFICATION OF THE DEVICE TO BE EXAlVIINED

5. The property to be searched is a Samsung Model SM-J336AZ cell phone bearing
serial number R28K53A6L4T currently located in the United States Marshals Service evidence

locker located in Albany New York (hereinafter the SUBJECT DEVICE).

6. The applied-for warrant would authorize the forensic examination of the Device

for the purpose of identifying electronically stored data particularly described in Attachment B.
PROBABLE CAUSE

7. The USMS is conducting a criminal investigation into TOMPKINS’ failure to
register as a sex offender in violation of 18 U.S.C. § 2250(a). On February 9, 2009, TOMPKINS

was arrested by the Okanogan County Sheriff’s Offlce in Washington and charged with Child

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Molestation First Degree, in violation of the Revised Code of Washington (“RCW”) §
9A.44.083. On September 3, 2009, TOMPKINS was convicted of violating RCW 9A.44.089,
Child Molestation Third Degree. A person is guilty of such an offense when he “has, or
knowingly causes another person under the age of eighteen to have, sexual contact with another
who is at least fourteen years old but less than sixteen years old and not married to the
perpetrator and the perpetrator is at least forty-eight months older than the victim.” The victim
in the case was allegedly ten years old and the defendant was 25 years old at the time of the
offense. TOMPKINS was sentenced to a term of twelve (12) months Community Custody and
required to register as a sex offender.

8. On July 23, 2009, TOMPKINS signed a plea agreement in the Superior Court of
Washington for Okanogan County. As part of this plea, TOMPKINS signed and dated a
“Statement of Defendant on Plea of Guilty to Sex Offense” and “Offender Registration
Attachment” which included the advisement that he must register as a sex offender, and that “if l
move to another state, or if l work, carry on a vocation, or attend school in another state I must
register a new address, tingerprints, and photograph with the new state within 10 days after
establishing residence, or after beginning to work, carry on a vocation, or attend school in the
new state.” TOMPKINS signed the Statement indicating that he understood the requirements of
the Statement and Attachment.

9. On September 3, 2009, TOMPKINS was sentenced in the Superior Court of
Washington for Okanogan County to 12 months of Community Custody. As part of sentencing,
TOMPKINS signed and dated a “Felony Judgement and Sentence” which included the provision,
“[i]f you move to another state, or if you work, carry on a vocation, or attend school in another

state you must register a new address, fingerprints, and photograph with the new state within 10

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days after establishing residence, or after beginning to work, carry on a vocation, or attend
school in the new state.”

10. From November 2009 through October 201 1 TOMPKINS was compliant with
registration requirements and submitted change of address registration updates to the Grant
County Sheriff on five separate occasions

11. On October 27, 2014, the Grant County Sheriff’s Office became aware that
TOMPKINS had failed to verify his address, or complete change of address notifications since
his last registration update in 2011. The Grant County Sheriff’s Office located TOMPKINS and
provided a copy of the “Sex and Kidnapping Offender Notification of Registration and
Requirements (Revised 7/22/2011)” RCW 9A.44.130. A Grant County Sheriff’s Deputy
reviewed the registration requirements with TOMPKINS and the document, which stated
“[o]ffenders required to register in Washington, who move to another state, or who work, carry
on a vocation, or attend school in another state shall register a new address, fingerprints, and
photograph with the new state within three business days after establishing residence, or after
beginning to Work, carry on a vocation, or attend school in the new state,” was signed by both
the Grant County Deputy and TOMPKINS.

12. On August 11, 2016, the Grant County Sherift’s Oftice attempted to locate
TOMPKINS at his registered address 726 Eastlake Ave (aka Main Ave), Soap Lake, Washington
to conduct an annual address verification The Grant County Sherift`s Office discovered that
TOMPKINS was no longer residing at his registered address and had not completed a change of
address notification as required. Between August 2016 and February 2017 the Grant County

Sheriff's Office was unable locate TOMPKINS and an arrest warrant for TOMPKINS was

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issued by the Grant County Superior Court for violation of RCW 9A.44.132 Fail to Register as
Sex Offender.

13. On February 27, 2017 TOMPKINS obtained employment at the Hoffman Car
Wash, 5 Lowes Drive, Saratoga Springs, New York. According to Hoffman employee records,
TOMPKINS was employed at the Hoffman Car Wash from February 27, 2017 through July 11,
2017. According to Hoffman employee records TOMPKINS listed his home address as a
residence in Clifton Park, New York.

14. On January 24, 2018 TOMPKINS obtained employment at Taco Bell, 811 Route
146, Clifton Park, New York. According to Taco Bell employee records, TOMPKINS was
employed at this location from January 24, 2018 through August 14, 2018. According to Taco
Bell employee records TOMPKINS listed his home address as a residence in Clifton Park, New
York.

15 . On October 19, 2018, a due diligence search was performed by investigators with
the New York State Division of Criminal Justice Services (NYDCJS) and determined
TOMPKINS was not registered as a sex offender in New York State. Investigators have
continued to conduct a search of NYDCJS records regularly since October 19, 2018, including
March 13, 2019, and have determined that TOMPKINS has not registered as a sex offender in
New York State.

16. On March 18, 2019, based on the facts provided in an aftidavit, including the
facts set forth above, the Honorable Daniel J. Stewart signed a Criminal Complaint accusing
TOMPKINS of violating 18 U.S.C. 2250(a), failure to register and update a sex offender
registration as required by the Sex Offender Registration and Notification Act, and a warrant for

TOMPKINS’s arrest.

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17. TOMPKINS was arrested on March 28, 2019. Prior to entering the transport
vehicle, TOMPKINS asked his girlfriend to get his shoes and phone. TOMPKINS’ girlfriend
placed the SUBJECT DEVICE in his pocket. At the time that TOMPKINS entered the transport
vehicle following arrest he had the SUBJECT DEVICE in his possession. At that time, the
SUBJECT DEVICE was seized by your Aftiant. TOMPKINS was read his Miranda rights while
in transit to the USMS office and agreed to speak with your Affiant. While in the vehicle, I
asked TOMPKINS if he would like any phone numbers from the SUBJECT DEVICE. He said
yes and provided the passcode to unlock the SUBJECT DEVICE. l then provided TOMPKINS
with the phone numbers for his uncle, aunt and girlfriend, all of Whom reside in the Northern

District ofNew York, that were contained in the contacts section of the SUBJECT DEVICE.

18, As part of this investigation, investigators also reviewed publicly-available
information on Facebook, which reveals an account in the name “Eric Bleu,” which appears to
be the account of TOMPKINS. The account contains “selfie” photographs of TOMPKINS,
including photographs taken in front of what appears to be a residence where he was staying for
a period of time in Clilton Park, New York. The selfies appear to be the type that are typically
taken using a cell phone. In my training and experience, people also often access Facebook

through the use of a cell phone.

19. The SUBJECT DEVICE is currently in the lawful possession of the United States
Marshals Service. It came into the Marshals Service’s possession when it was seized incident to
TOMPKINS’ arrest on March 28, 2019. Therefore, while the Marshals Service might already

have all necessary authority to examine the SUBJECT DEVICE, I seek this additional warrant

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out of an abundance of caution to be certain that an examination of the SUBJECT DEVICE will

comply with the Fourth Amendment and other applicable laws

20. The SUBJECT DEVICE is currently in storage in the evidence locker at the
United States Marshals Service’s office in Albany, New York. In my training and experience, I
know that the SUBJECT DEVICE has been stored in a manner in which its contents are, to the
extent material to this investigation, in substantially the same state as they were when the

SUBJECT DEVICE first came into the possession of the Marshals Service.

TECHNICAL TERMS

21. Based on my training and experience, I use the following technical terms to

convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals These telephones send signals through networks of
transmitter/receivers enabling communication with other wireless telephones or
traditional “land line” telephones A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and
from the phone. ln addition to enabling voice communications wireless
telephones offer a broad range of capabilities These capabilities include: storing
names and phone numbers in electronic “address books;” sending, receiving, and
storing text messages and e-mail; taking, sending, receiving, and storing still

photographs and moving video; storing and playing back audio files; storing

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dates, appointments and other information on personal calendars; and accessing
and downloading information from the Internet. Wireless telephones may also
include global positioning system (“GPS”) technology for determining the

location of the device.

b. Digital cameras A digital camera is a camera that records pictures as digital
picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded images
Images can usually be retrieved by connecting the camera to a computer or by
connecting the removable storage medium to a separate reader. Removable
storage media include various types of flash memory cards or miniature hard
drives Most digital cameras also include a screen for viewing the stored images
This storage media can contain any digital data, including data unrelated to

photographs or videos

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio, video,
or photographic files However, a portable media player can also store other
digital data. Some portable media players can use removable storage media.
Removable storage media include various types of flash memory cards or
miniature hard drives This removable storage media can also store any digital
data. Depending on the model, a portable media player may have the ability to
store very large amounts of electronic data and may offer additional features such

as a calendar, contact list, clock, or games

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d. GPS: A GPS navigation device uses the Global Positioning System to display its
current location. lt often contains records the locations where it has been. Some
GPS navigation devices can give a user driving or Wall<ing directions to another
location. These devices can contain records of the addresses or locations involved
in such navigation. The Global Positioning System (generally abbreviated
“GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite
contains an extremely accurate clock, Each satellite repeatedly transmits by radio
a mathematical representation of the current time, combined with a special
sequence of numbers These signals are sent by radio, using specifications that
are publicly available. A GPS antenna on Earth can receive those signals When
a GPS antenna receives signals from at least four satellites a computer connected
to that antenna can mathematically calculate the antenna’s latitude, longitude, and

sometimes altitude with a high level of precision.

e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used
for storing data (such as names addresses appointments or notes) and utilizing
computer programs Some PDAs also function as Wireless communication
devices and are used to access the Internet and send and receive e-mail. PDAs
usually include a memory card or other removable storage media for storing data
and a keyboard and/or touch screen for entering data. Removable storage media
include various types of flash memory cards or miniature hard drives This
removable storage media can store any digital data. Most PDAs run computer
software, giving them many of the same capabilities as personal computers For

example, PDA users can work with word-processing documents spreadsheets,
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and presentations PDAs may also include global positioning system (“GPS”)

technology for determining the location of the device.

f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller
than a notebook, that is primarily operated by touching the screen. Tablcts
function as Wireless communication devices and can be used to access the Intemet
through cellular networks 802.11 “wi-fi” networks or otherwise. Tablets
typically contain programs called apps which, like programs on a personal
computer, perform different functions and save data associated with those
Hmctions. Apps can, for example, permit accessing the Web, sending and

receiving e-mail, and participating in Intemet social networks

g. Pager: A pager is a handheld wireless electronic device used to contact an
individual through an alert, or a numeric or text message sent over a
telecommunications network. Some pagers enable the user to send, as well as

receive, text messages

h. IP Address: An Intemet Protocol address (or simply “IP address”) is a unique
numeric address used by computers on the Intemet. An IP address is a series of
four numbers each in the range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the lntemet computer must be assigned an IP address
so that Intemet traffic sent from and directed to that computer may be directed
properly from its source to its destination. Most Intemet service providers control

a range of IP addresses Some computers have static-that is, long-term_IP

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addresses while other computers have dynamic_that is frequently changed_IP

addresses

i. Intemet: The Internet is a global network of computers and other electronic
devices that communicate with each other. Due to the structure of the Internet,
connections between devices on the Intemet often cross state and international
borders even when the devices communicating with each other are in the same

state.

22. Based on my training, experience, and research, l know that the SUBJECT
DEVICE has capabilities that allow it to serve as a wireless telephone, digital camera, portable
media player, GPS navigation device, and PDA. In my training and experience, examining data
stored on devices of this type can uncover, among other things evidence that reveals or suggests
who possessed or used the device, as well as where and When they possessed and used the

device.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

23. Based on my knowledge, training, and experience, I know that electronic devices
can store information for long periods of time. Similarly, things that have been viewed via the
Intemet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools

24. Forensic evidence As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

ll

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the Device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Device because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a

file (such as a paragraph that has been deleted from a word processing file).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence.

c. A person With appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who

used them, and when.

d. The process of identifying the exact electronically stored information on a storage
medium that is necessary to draw an accurate conclusion is a dynamic process
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators Whether data stored on a computer is
evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves Therefore, contextual
information necessary to understand other evidence also falls within the scope of

the warrant.

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e. Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a storage medium,

25. Nature ofexamz'nation. Based on the foregoing, and consistent with Rule
41(e)(2)(B), the warrant l am applying for would permit the examination of the device consistent
with the warrant. The examination may require authorities to employ techniques including but
not limited to computer-assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine Whether it is evidence described by the warrant.

26. Manner of execution Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does not involve
the physical intrusion onto a premises Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.
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M_N

27, I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Device described in Attachment A to seek the items described

in Attachment B.

Respectfully submitted,

W
Robert Imburgio
Criminal Investigator/Deputy Marshal

United States Marshals Service

Subscribed and sworn to before me

on Apr ,2019H
/ /`\

Hon. Da el .vS/tez_‘}f art
UNITE ATES AGISTRATE JUDGE

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ATTACHMENT A

The property to be searched is a Samsung Model SM-J336AZ cell phone bearing serial
number R28K53A6L4T currently located in the United States Marshals Service evidence locker

located in Albany New York (hereinafter the SUBJECT DEVICE).

This warrant authorizes the forensic examination of the SUBJECT DEVICE for the

purpose of identifying the electronically stored information described in Attachment B.

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ATTACHMENT B

l. All records on the SUBJECT DEVICE described in Attachment A that relate to
violations of 18 U.S.C. § 2250(a), Failure to Register as a Sex Offender, and involve ERIC

TOMPKINS, including:

a. Evidence indicating TOMPKINS’ location and residence, including photographs
messages call logs GPS and geolocation data, WiFi connections internet

browsing history and financial records;

b. TOMPKINS’ employment information;

c. TOMPKINS’ registration as a sex offender, including in New York and

Washington; and

d. Evidence indicating TOMPKINS’ state of mind as it relates to the crime under

investigation

2. Evidence of user attribution showing who used or owned the SUBJECT DEVICE
at the time the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usemames and passwords, documents and browsing history;

As used above, the terms “records” and “information” include all of the foregoing items
of evidence in whatever form and by whatever means they may have been created or stored,
including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.

